
















COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS




KEVIN DEE HARDIN,


                            Appellant,


v.


THE STATE OF TEXAS,


                            Appellee.
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No. 08-03-00066-CR


Appeal from the


142nd District Court


of Midland County, Texas


(TC# CR27305)



MEMORANDUM OPINION



	This is an appeal from a revocation of probation proceeding.  Appellant was originally
placed on probation for the offense of theft.  The court revoked Appellant's probation and
assessed punishment at two (2) years' confinement in the State Jail Division of the Texas
Department of Criminal Justice and a fine of $500.  We affirm.

	Appellant's court-appointed counsel has filed a brief in which he has concluded that
the appeal is wholly frivolous and without merit.  The brief meets the requirements of Anders
v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493, reh. denied, 388 U.S. 924, 87
S.Ct. 2094, 18 L.Ed.2d 1377 (1967), by advancing contentions which counsel says might
arguably support the appeal.  See High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978);
Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553
(Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  A copy
of counsel's brief and the appellate record have been delivered to Appellant, and Appellant
has been advised of his right to file a pro se brief.  No pro se brief has been filed.

	We have carefully reviewed the record and counsel's brief and agree that the appeal
is wholly frivolous and without merit.  Further, we find nothing in the record that might
arguably support the appeal.  A discussion of the contentions advanced in counsel's brief
would add nothing to the jurisprudence of the state.

	The judgment is affirmed.

June 30, 2003


						                                                                             

						RICHARD BARAJAS, Chief Justice



Before Panel No. 3

Barajas, C.J., Larsen, and Chew, JJ.


(Do Not Publish)













